Case 3:23-cr-00027-RDM Document164 Filed 10/16/24 Page1of4

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT

UNITED STATES OF AMERICA

V. CASE NO. 3:23 -CR-27
FILED
SCRANTON
SIANA W
ASIANA WILLIAMS act 16 202
/
PER DEPUTY/PLERK

MOTION FOR ORDER TO ACCESS LAW LIBRARY
TO PREPARE FOR COURT PROCEEDINGS

COMES NOW, YOUR PRO SE DEFENDANT, respectfully moving this honorable curt for an
Order directing the Lakawana County Prison/Detention Center to allow unimpeded access to law

libray so as to allow your pro se defendant to research and prepare litigation.

Respectfiuly Submitted,

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ASiana Williams, Pro Se.

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

NO. 3:23-CR-27
Vv.
FILED
SCRANTON
ASIANA CHRISTINE WILLIAMS MAR 7 2024
/ PER Zl CLERK

EMERGENCY MOTION TO EXCLUDE CELL PHONE

Comes now, YOUR MOVANT Asia Williams respectfully moving this
honorable court for an order granting the requested relief to exclude the
cell phone as it is tampered with and should be excluded.

In support your defendant offers the following:

e The cell phone was wiped Clean of finger Prints

¢ The cell phone was also wiped clean of DNA

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. . 1.

e The phone also had text messages deleted

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WHEREFORE, your movant.asks this court to enter an order excluding
cell phone in the interest of justice and to preserve the integrity of the

judicial process.

DONE this March 22, 2024.

Respectfully Submitted,

Laer ly ——

ASIANNA WILLIAMS

TO BE ADOPTED BY COUNSEL

Taf O|
